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    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 21-0088V
                                        UNPUBLISHED


    TERRA FIGUEIREDO,                                       Chief Special Master Corcoran

                        Petitioner,                         Filed: June 16, 2022
    v.
                                                            Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                 Ruling on Entitlement; Concession;
    HUMAN SERVICES,                                         Table Injury; Tetanus Diphtheria
                                                            acellular Pertussis (Tdap) Vaccine;
                       Respondent.                          Shoulder Injury Related to Vaccine
                                                            Administration (SIRVA)


John Robert Howie, Howie Law, PC, Dallas, TX, for Petitioner.

Naseem Kourosh, U.S. Department of Justice, Washington, DC, for Respondent.

                                   RULING ON ENTITLEMENT1

       On January 5, 2021, Terra Figueiredo filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleged that she suffered a shoulder injury related to vaccine
administration (“SIRVA”), a defined Table Injury, after receiving the tetanus, diphtheria,
acellular pertussis (“Tdap”) vaccine on November 10, 2019. Petition at 1, ¶¶ 1, 6. On
January 31, 2021, Petitioner filed a more detailed, amended petition, alleging the same.
Amended Petition at 1, ¶¶ 1, 22. Petitioner further alleged that she received the
vaccination in the United States, that she suffered the residual effects of her SIRVA for
more than six months, and that neither she nor any other party has filed a civil action or


1 Because this unpublished Ruling contains a reasoned explanation for the action in this case, I am required
to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the Ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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received compensation for her SIRVA. Id. at ¶¶ 1, 20-21. The case was assigned to the
Special Processing Unit of the Office of Special Masters.

       On June 13, 2022, Respondent filed his Rule 4(c) report in which he concedes that
Petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report at 1.
Specifically, Respondent “had concluded that [P]etitioner’s claim meets the Table criteria
for SIRVA.” Id. at 6. Respondent further agrees that “[P]etitioner has satisfied all legal
prerequisites for compensation under the Act.” Id.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

      IT IS SO ORDERED.

                                                       s/Brian H. Corcoran
                                                       Brian H. Corcoran
                                                       Chief Special Master




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